     Case 3:15-cv-01162-CAB-LL Document 141 Filed 08/17/21 PageID.8232 Page 1 of 1



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 8                         UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    BRIAN JOSEPH DISCOLL, an                        Case No.: 15-CV-1162 JLS (LL)
      individual,
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                                     Plaintiff,       ORDER (1) RECUSING FROM CASE
13                                                    AND (2) REQUESTING
      v.                                              REASSIGNMENT
14
      METLIFE INSURANCE; ANHEUSER-
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      BUSCH INBEV INC.; and DOES 1 to
16    100,
17                                Defendants.
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19         Presently before the Court is Plaintiff Brian Driscoll’s Complaint (ECF No. 1)
20   against Defendants Metropolitan Life Insurance Company and Anheuser-Busch
21   Companies, LLC.      The undersigned HEREBY RECUSES from this case and
22   REQUESTS that another District Judge be assigned.
23         IT IS SO ORDERED.
24   Dated: August 17, 2021
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                                                                             15-CV-1162 JLS (LL)
